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 3                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 4                                   AT SEATTLE

 5
      HARMONY GOLD U.S.A., INC.,
 6                          Plaintiff,
 7         v.                                         C17-327 TSZ

 8    HAREBRAINED SCHEMES LLC,                        MINUTE ORDER
      et al.,
 9
                            Defendants.
10

11        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
12
          (1)    Plaintiff’s unopposed motion to seal, docket no. 59, is GRANTED. The
   unredacted versions of plaintiff’s response, docket no. 65, to defendant Piranha Games
13
   Inc.’s motion for summary judgment, in which other defendants have joined, and the
   Declaration of Jessica Stebbins Bina, docket no. 66, as amended, docket no. 68, shall
14
   remain under seal.
15         (2)    Defendant Piranha Games Inc.’s unopposed motion to seal, docket no. 71,
   is also GRANTED. The unredacted versions of such defendant’s reply, docket no. 74, in
16 support of its motion for summary judgment, and the Declaration of Todd S. Fairchild,
   docket no. 75, shall remain under seal.
17
           (3)    The Clerk is directed to send a copy of this Minute Order to all counsel of
18 record.

19         Dated this 26th day of January, 2018.

20
                                                    William M. McCool
21                                                  Clerk

22                                                  s/Karen Dews
                                                    Deputy Clerk
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     MINUTE ORDER - 1
